               Case 18-01171-JDP                      Doc 8             Filed 09/06/18 Entered 09/06/18 15:49:52                               Desc Main
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 Fill in this information to identify your case:

 Debtor 1                     Vernon Kenneth Smith, Jr.
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF IDAHO

 Case number            18-01171
 (if known)                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?              Attorney fees for           $ $17,500.00
                                                                                                                   Estate
              Allen Ellis
              2537 W State Stree                                     As of the date you file, the claim is: Check all that apply
              Suite 140                                                      Contingent
              Boise, ID 83702                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Business expense -          $ $4,400.00
                                                                                                                   personal guarantee
              Bennett Farms
              Mountain Home, ID 83647                                As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                 $

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 Debtor 1          Vernon Kenneth Smith, Jr.                                                        Case number (if known)            18-01171

                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 3                                                                   What is the nature of the claim?              Open revolving                $ $1,500.00
                                                                                                                   business account -
                                                                                                                   personal guarantee
            Campbell Tractor
            2014 N Franklikn Blvd                                    As of the date you file, the claim is: Check all that apply
            Nampa, ID 83687                                                  Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Income taxes                  $ Unknown
            Internal Revenue Service
            PO BOX 7346                                              As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19114                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Attorneys fees                $ Unknown
            Jones Gledhill Fuhrman
            225 N 9th St #820                                        As of the date you file, the claim is: Check all that apply
            Boise, ID 83702                                                  Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $350,000.00
                                                                                    Value of security:                               - $ Unknown
            Contact phone                                                           Unsecured claim                                    $ Unknown


 6                                                                   What is the nature of the claim?              Business Expense -     $ $24,000.00
                                                                                                                   personal guarantee for
                                                                                                                   salary
            Orin Dilworth
            730 E. 43rd Street


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 Debtor 1          Vernon Kenneth Smith, Jr.                                                        Case number (if known)            18-01171

            Garden City, ID 83714                                    As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Debts arising out of          $ $1,300,000.00
                                                                                                                   prior divorce action,
                                                                                                                   including property
                                                                                                                   settlement issues and
            Sharon K. Bergmann
            c/o Randal J. French, Atty                               As of the date you file, the claim is: Check all that apply
            PO Box 2730                                                      Contingent
            Boise, ID 83701                                                  Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Fertilizer and                $ $5,394.09
                                                                                                                   chemicals
            Simplot Grower Solutions
            1099 W Front Street                                      As of the date you file, the claim is: Check all that apply
            ATTN: James Alderman, Sec.                                       Contingent
            Boise, ID 83702                                                  Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Vernon Kenneth Smith, Jr.                                                     X
       Vernon Kenneth Smith, Jr.                                                             Signature of Debtor 2
       Signature of Debtor 1


       Date      September 6, 2018                                                           Date


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